                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

IN RE: GEORGE NELSON
       CHERYL NELSON                                               Case Number: 18-44593
                                                                   Chapter 13
Debtors                                                            Judge MARK A. RANDON
________________________________

WILLIAM D. JOHNSON (P54823)
ACCLAIM LEGAL SERVICES, P.L.L.C.
8900 E. 13 Mile Road
Warren, MI 48093
(248) 443-7033
_______________________________/

                         PROPOSED CHAPTER 13 PLAN MODIFICATION

Debtors propose to modify the confirmed Plan pursuant to LBR 3015-2(b) as follows:

•    Debtors’ plan term is hereby extended by 20 months for a total of 80 months.

During the past year Debtors fell behind on plan payments due to Mr. Nelson being unable to work or
assist in helping with the household finances due to issues with the Covid-19 pandemic. Also, Mr.
Nelson had other medical issues and was hospitalized for an extended period of time. Debtors fell behind
in their plan payments which resulted in a payment arrearage and underfunding of their plan. As such,
Debtors seek to extend the term of their plan to make up for the payment delinquency that accrued and to
properly fund the plan.

Following is the effect of this modification on the following classes:
Class One: no adverse impact.
Class Two: no adverse impact.
Class Three: n/a
Class Four: n/a
Class Five: no adverse impact.
Class Six: n/a
Class Seven: n/a
Class Eight: n/a
Class Nine: no adverse impact.


Dated: December 29, 2020                          /s/ William D. Johnson
                                                  WILLIAM D. JOHNSON (P54823)
                                                  Acclaim Legal Services, PLLC
                                                  8900 E. 13 Mile Road
                                                  Warren, MI 48093
                                                  (248) 443-7033
                                                  filing@acclaimlegalservices.com




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                  PROPOSED ORDER MODIFYING CHAPTER 13 PLAN

This matter having come before the Court upon Debtors’ Notice of Proposed Chapter 13 Plan
Modification, no objections having been filed, a certificate of no objection having been filed, and
the Court being otherwise fully advised on the premises;

IT IS HEREBY ORDERED that the following modifications to the Chapter 13 Plan are hereby
effective:

•    Debtors’ plan term is hereby extended by 20 months for a total of 80 months.

IT IS FURTHER ORDERED that in all other respects the confirmed Plan, as last modified,
remains in full force and effect.




                                          EXHIBIT A




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_______________________________/

                 Notice of Deadline to Object to Proposed Chapter 13 Plan Modification

        The deadline to file an objection to the attached proposed chapter 13 plan modification is 21 days
after service.
        If no timely responses are filed to a proposed post-confirmation plan modification, the proponent
may file a certificate of no response and request entry of an order approving the plan modification.
        If a timely objection is filed, the Court will set the matter for hearing and give notice of the hearing
to the Debtor, the proponent of the plan modification, the Trustee and any objecting parties. In that event,
the plan modification will become effective when the Court enters an order overruling or resolving all
objections.
        Objections to the attached proposed chapter 13 plan modification shall be served on the following:

                         Krispen S. Carroll, Chapter 13 Trustee
                         719 Griswold Street, Suite 1100
                         Detroit, MI 48226

                         Acclaim Legal Services, PLLC
                         8900 E. 13 Mile Road
                         Warren, MI 48093


Dated: December 29, 2020                           /s/ William D. Johnson
                                                   WILLIAM D. JOHNSON (P54823)
                                                   Acclaim Legal Services, PLLC
                                                   8900 E. 13 Mile Road
                                                   Warren, MI 48093
                                                   (248) 443-7033
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_______________________________/

                                   PROOF OF SERVICE

DEANNA RUNDE, hereby certifies that on December 29, 2020 she served a copy of the
following documents electronically or by the United States Postal Service:

          •   Proposed Chapter 13 Plan Modification
          •   Notice of Proposed Chapter 13 Plan Modification
          •   Proposed Order
          •   Proof of Service

upon:

              Chapter 13 Trustee – Krispen S. Carroll
              719 Griswold Street, Suite 1100
              Detroit, MI 48226

              All parties on the attached Matrix



Dated: December 29, 2020                    /s/ Deanna Runde
                                            Deanna Runde
                                            Acclaim Legal Services, PLLC
                                            8900 E. 13 Mile Road
                                            Warren, MI 48093
                                            (248) 443-7033
                                            filing@acclaimlegalservices.com




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